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IN THE UNITED STATES DISTRICT CoURT 053 \D
FoR THE WESTERN DISTRICT oF TENNESSEE 5°~ /P ~Q
WESTERN DIVISION /°/

DoRIS K. RoBISoN,

Plaintiff,
VS. NO. 05-1073-T
Jo ANNE B. BARNHART,
CoMMlSSIoNER oF
SoCIAL SECURITY,

Defendant.

oRDER oF REFERENCE f

This case is hereby referred to United States Magistrate Judge Thomas Anderson for
report and recommendation

IT IS SO ORDERED.

QFMMDM

l'q&d]“:",S D. TODD
|.VFTED STATES DISTRICT JUDGE

/ jrr))¢/WWM &M_S

DATE

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Honorable J ames Todd
US DISTRICT COURT

